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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                      Hon. Phillip J. Green
 v.
                                                      Case No. 1:17-mj-00282-PJG-13
 TONY KIRKLAND,

       Defendant.
 ________________________________/

                          ORDER OF DETENTION

      Defendant appeared before me with counsel on September 7, 2017, for a

detention hearing on the complaint, which charges defendant with conspiracy to

possess with intent to distribute and to distribute heroin and cocaine in violation of

21 U.S.C. Sections 846, 841(a)(1), 841(b)(1)(A) and (C). On the record in open court,

defendant knowingly and voluntarily waived his rights to this hearing.

Accordingly;

      IT IS ORDERED that defendant be and hereby is bound over for further

proceedings before the grand jury pursuant to FED. R. CRIM. P. 5.1.

      IT IS FURTHER ORDERED that defendant is committed to the custody of

the Attorney General until further order of the court.


Date September 7, 2017                                /s/ Phillip J. Green
                                                     PHILLIP J. GREEN
                                                     United States Magistrate Judge
